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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
JENNIFER L. WHITAKER,

                                   Plaintiff,
                 -against-                                                   21 CIVIL 840 (PKC)

                                                                              JUDGMENT
ON THE RIGHT TRACK SYSTEMS, INC.,

                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated March 14, 2022, the Court has considered all the

arguments of the parties, whether or not they are expressly referenced. OTRTS's motion to

dismiss the Complaint is GRANTED and final judgment is entered in favor of OTRTS;

accordingly, the case is closed.

Dated: New York, New York

          March 15, 2022


                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
